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 9                          UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11                              SAN FRANCISCO DIVISION
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13   IN RE: CATHODE RAY TUBE (CRT)           Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________    MDL No. 1917
     This Document Relates to:
15                                           FINAL JUDGMENT OF DISMISSAL WITH
16                                           PREJUDICE AS TO DEFENDANTS LG
     ALL DIRECT PURCHASER ACTIONS            ELECTRONICS, INC.; LG ELECTRONICS
17                                           USA, INC.; AND LG ELECTRONICS
                                             TAIWAN TAIPEI CO., LTD.
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       FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT LG
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 1           This matter has come before the Court to determine whether there is any cause why this

 2   Court should not approve the settlement with Defendants LG Electronics, Inc.; LG Electronics

 3   USA, Inc.; and LG Electronics Taiwan Taipei Co., Ltd. (“LG” or “Defendants”) set forth in the

 4   Settlement Agreement (“Agreement”), dated August 13, 2012, relating to the above-captioned

 5   litigation. The Court, after carefully considering all papers filed and proceedings held herein and

 6   otherwise being fully informed in the premises, has determined (1) that the Settlement should be

 7   approved, and (2) that there is no just reason for delay of the entry of this Final Judgment

 8   approving this Agreement. Accordingly, the Court directs entry of Judgment which shall constitute

 9   a final adjudication of this case on the merits as to the parties to the Agreement. Good cause

10   appearing therefor, it is:

11           ORDERED, ADJUDGED AND DECREED THAT:

12           1.      The Court has jurisdiction over the subject matter of this litigation, and all actions

13   within this litigation and over the parties to the Agreement, including all members of the Class and

14   Defendants.

15           2.      The definitions of terms set forth in the Agreement are incorporated hereby as

16   though fully set forth in this Judgment.

17           3.      The Court hereby finally approves and confirms the settlement set forth in the

18   Agreement and finds that said settlement is, in all respects, fair, reasonable and adequate to the

19   Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

20           4.      Pursuant to Fed. R. Civ. P. 23(g), Lead Counsel, previously appointed by the Court,

21   Saveri & Saveri Inc., is appointed as counsel for the Class. This firm has and will fairly and

22   competently represent the interests of the Class.

23           5.      The persons/entities identified on Exhibit C to the Declaration of Markham

24   Sherwood in Support of Motion for Final Approval of Class Action Settlements filed on

25   _____________, have timely and validly requested exclusion from the Class and, therefore, are

26   excluded. Such persons/entities are not included in or bound by this Final Judgment. Such

27   persons/entities are not entitled to any recovery of the settlement proceeds obtained through this

28   settlement.

        FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT LG                                        1
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 1          6.      This Court hereby dismisses on the merits and with prejudice the Class Action in

 2   favor of LG, with each party to bear their own costs and attorneys’ fees.

 3          7.      All persons and entities who are Releasors are hereby barred and enjoined from

 4   commencing, prosecuting or continuing, either directly or indirectly, against the LG Releasees, in

 5   this or any other jurisdiction, any and all claims, causes of action or lawsuits, which they had, have,

 6   or in the future may have, arising out of or related to any of the Released Claims as defined in the

 7   Agreement.

 8          8.      The LG Releasees, are hereby and forever released and discharged with respect to

 9   any and all claims or causes of action which the Releasors had or have arising out of or related to

10   any of the settled claims as defined in the Agreement.

11          9.      The notice given to the Class of the settlement set forth in the Agreement and the

12   other matters set forth herein was the best notice practicable under the circumstances, including

13   individual notice to all members of the Class who could be identified through reasonable efforts.

14   Said notice provided due and adequate notice of those proceedings and of the matters set forth

15   therein, including the proposed settlement set forth in the Agreement, to all persons entitled to such

16   notice, and said notice fully satisfied the requirements of Rules 23(c)(2) and 23(e)(1) of the Federal

17   Rules of Civil Procedure and the requirements of due process.

18          10.     Without affecting the finality of this Judgment in any way, this Court hereby retains

19   continuing jurisdiction over: (a) implementation of this settlement and any distribution to Class

20   Members pursuant to further orders of this Court; (b) disposition of the Settlement Fund (c) hearing

21   and determining applications by plaintiffs for attorneys’ fees, costs, expenses, and interest; (d) the

22   Action until the Final Judgment contemplated hereby has become effective and each and every act

23   agreed to be performed by the parties all have been performed pursuant to the Agreement; (e)

24   hearing and ruling on any matters relating to the plan of allocation of settlement proceeds; and (f)

25   all parties to the Action and Releasors, for the purpose of enforcing and administering the

26   Agreement and the mutual releases and other documents contemplated by, or executed in

27   connection with the Agreement.

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       FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT LG                                         2
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 1          11.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

 2   Procedure, that this Final Judgment should be entered and further finds that there is no just reason

 3   for delay in the entry of this Judgment, as a Final Judgment, as to the parties to the Agreement.

 4   Accordingly, the Clerk is hereby directed to enter Judgment forthwith.

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 6          IT IS SO RECOMMENDED.

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 9   Dated:___________________                            ______________________________
                                                          Hon. Charles A. Legge (Ret.)
10                                                        Special Master
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12          REVIEWED AND [APPROVED OR MODIFIED]

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14   Dated: _____________________                         ________________________________
                                                          Hon. Samuel Conti
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                                                          United States District Judge
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       FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT LG                                       3
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